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                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA

                                         FORT MYERS DIVISION

 OIL COM UGANDA, and                                           CASE #_______________________
 ISLAM EDHA ABDAHAH NAHDI,

                Plaintiffs,

 vs.

 ESTATE OF
 BRUWER WESSEL VAN TONDER,

                Defendant,
                                                       /

            COMPLAINT FOR DAMAGES AND DECLARATORY JUDGMENT


       Plaintiffs, OIL COM UGANDA (“OCU”) and ISLAM EDHA ABDAHAH NAHDI

(“NAHDI”), hereby files its Complaint for damages and declaratory judgment against Defendant,

ESTATE OF BRUWER WESSELL VAN TONDER (“TONDER”) and state as follows:

                                     JURISDICTION AND VENUE

       1.      This Court has jurisdiction pursuant to 28 U.S.C. §1332(a), because the matter in

controversy exceeds the sum or value of $75,000, exclusive of interest and costs, and Plaintiffs are

the citizens of the country of Uganda, and Defendant is citizen of the state of Florida.

       2.      Venue is proper in this Court because the causes of action set forth herein accrued

in Lee County, Florida.

       3.      OCU is a corporate entity that is a citizen of the country of Uganda and does not

have permanent residence in the United States and is not domiciled in the state of Florida.




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        4.      NAHDI is an individual who is a citizen of the country of Uganda and does not

have permanent residence in the United States and is not domiciled in the state of Florida, and he

is otherwise sui juris.

        5.      TONDER is the Estate of Bruwer Wessell Van Tonder, who is now deceased and,

at least during the last 5 years of his life, Tonder was a citizen and resident of Lee County, Florida.

                                             GENERAL FACTS

        6.      In 2010, TONDER began working for OCU and its affiliates as a consultant in

several different fields of business around the world. NAHDI served as director of OCU and the

primary representative of OCU for its business transactions, and he was also TONDER’S main

contact relating to all business concerning OCU.

        7.      In 2012, OCU and NAHDI, with assistance from TONDER, began exploring the

possibility of purchasing the shares of AXI International Corporation, a Nevada corporation,

formerly known as Algae-X International Corporation (“AXI”), doing business in Lee County,

Florida.

        8.      For over 20 years, AXI has engineered some of the best fuel system solutions. AXI

provides customers with fully automated systems that seamlessly integrate with each other and the

respective facilities they serve. From fuel filling and transfer to ready-use day tank storage and

automated filtration, AXI covers the full spectrum of customer fuel management needs.

        A. SHARE PURCHASE

        9.      On or about December 3, 2012, Caprihan Enterprises Limited, an affiliate of OCU,

entered into a Share Purchase Agreement for purchase of 100% of the shares of AXI. A true and

correct copy of the Share Purchase Agreement is attached hereto as Exhibit “A”.



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       10.     Between December 3, 2012, and February 5, 2013, OCU and NAHDI jointly paid

the purchase price of $1 million USD. TONDER did not pay any of the purchase price.

       11.     On February 5, 2013, 200,000 shares of AXI were issued from the company’s prior

owners to Caprihan Enterprises Limited. A true and correct copy of share certificates 12 through

14 are attached hereto as Composite Exhibit “B”.

       12.     TONDER executed the 2012 Agreement on behalf of Caprihan Enterprises

Limited, by and through a Special Power of Attorney. (Exhibit A).

       13.     NAHDI was named President and Director of AXI, while TONDER was named

CEO and Director of AXI. A true and correct copy of the 2013 Annual Report for AXI is attached

hereto as Exhibit “C”.

       14.     On March 8, 2013, AXI submitted documents with the state of Nevada and the state

of Florida for change of name from Algae-X International Corporation to AXI International

Corporation. A true and correct copy of the name change submissions are attached hereto as

Exhibit “D”.

       15.     On or about August 1, 2013, AXI issued new share certificates as follow:

               a. OCU received 102,000 shares, which constituted 51% of all issued shares of

                    AXI. A true and correct copy of Share Certificate 1 is attached hereto as Exhibit

                    “E”.

               b. TONDER received 80,000 shares, which constituted 40% of all issued shares

                    of AXI. A true and correct copy of Share Certificate 2 is attached hereto as

                    Exhibit “F”.




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               c. NAHDI received 18,000 shares, which constituted 9% of all issued shares of

                    AXI. A true and correct copy of Share Certificate 3 is attached hereto as Exhibit

                    “G”.

       16.     Filed federal tax returns for the calendar year 2014 show OCU owns 51% of AXI,

NAHDI owns 9% of AXI and TONDER owns 40% of AXI. A true and correct copy of Schedule

G of the 2014 tax return is attached hereto as Exhibit “H”.

       17.     Filed federal tax returns for the calendar year 2015 show OCU owns 51% of AXI,

NAHDI owns 9% of AXI and TONDER owns 40% of AXI. A true and correct copy of Schedule

G of the 2015 tax return is attached hereto as Exhibit “I”.

       18.     Filed federal tax returns for the calendar year 2016 show TONDER owns 40% of

AXI, while Schedule G from the prior year tax returns is missing from the tax return copy in

Plaintiffs’ possession. A true and correct copy of Form 1125E contained in the 2016 tax return is

attached hereto as Exhibit “J”.

       19.     Between 2016 and 2017, TONDER represented to OCU and NAHDI that Chase

Bank is requiring NAHDI’s name to be removed from the AXI corporate bank accounts because

he is a foreign national and because he is Muslim.

       20.     TONDER further represented to OCU and NAHDI he will need to remove OCU

and NAHDI from public corporate records and as a signatory to the bank account so Chase Bank

would continue doing business with AXI.

       21.     TONDER represented to OCU and NAHDI nothing else would change and, more

specifically, the ownership interest in AXI will remain unchanged.

       22.     TONDER knew or should have known the representations he made to OCU and

NAHDI were false when he made them.

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       23.     OCU and NAHDI relied on TONDER’s representations and agreed to be removed

as signatories to the bank accounts and as officers on public corporate records.

       24.     OCU and NAHDI did not, at that time or at any time thereafter, agree to removal

of OCU and NAHDI from AXI as directors and majority shareholders.

       25.     OCU and NAHDI fully expected their shares in AXI remain unchanged.

       26.     On October 1, 2017, TONDER created and signed a Unanimous Written Consent

of The Board of Directors of AXI International (“Written Consent”), which purports to remove

NAHDI from the board of directors and terminate all power he had in the company. A true and

correct copy of the document is attached hereto as Exhibit “K”.

       27.     The Written Consent, ironically, did not have the consent of NAHDI and although

it was purported to have been signed by NAHDI, NAHDI’s signature on the document is a forgery.

       28.     NAHDI did not sign the Written Consent.

       29.     Upon information and belief, TONDER forged NAHDI’s signature without

NAHDI’s consent.

       30.     TONDER did so to further a scheme to remove NAHDI and OCU as shareholders

of the Company and take all shares of AXI for himself without the consent of OCU and NAHDI,

and without paying any consideration for such a transfer.

       31.     TONDER, thereafter, caused a new corporate book to be created; he removed the

original share certificates and had a brand new share certificate issued showing newly issued

200,000 shares of AXI to him alone.

       32.     Despite his attempts, TONDER did not remove all record of the actual share

ownership. As a result, the 2018 federal tax return for AXI shows TONDER owning only 40% of



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the company. A true and correct copy of Form 1125E contained in the 2018 tax return is attached

hereto as Exhibit “L”.

       33.      However, the 2019 and 2020 tax returns do, in fact, reflect 100% ownership of AXI

by TONDER. A true and correct copy of Form 1125E contained in the 2019 tax return is attached

hereto as Exhibit “M”. A true and correct copy of Form 1125E contained in the 2020 tax return is

attached hereto as Exhibit “N.”

       B. MONEY PAID

       34.      Between 2013 (after the initial purchase of AXI) and 2018, OCU and NAHDI, by

and through international affiliate entities but always on behalf of OCU and NAHDI, paid

approximately $5.4 million USD for investment into AXI.

       35.      The money was sent directly to TONDER’s personal bank accounts.

       36.      TONDER represented to OCU and NAHDI he would invest the money into AXI

as necessary.

       37.      While in his account, TONDER agreed he would not use the funds from OCU and

NAHDI for any purpose other than the continued investment into AXI.

       38.      TONDER represented to OCU and NAHDI that if too much money was placed

directly into AXI’s corporate accounts, AXI’s employees would see that amount of money and fail

to properly keep track of the money.

       39.      In reality, and unbeknownst to OCU and NAHDI, TONDER intended to use the

money for his own personal expenses instead of using all of the money for investment into AXI,

as expressly communicated to him by OCU and NAHDI.




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          40.    In fact, in 2019, TONDER used part of the funds he received from OCU and

NAHDI to purchase real property located at 3371 Brantley Oaks Drive, Fort Myers, FL 33905

(“Property”).

          41.    TONDER, thereafter, built a 5,100 square foot mansion on the Property.

          42.    TONDER used part of the funds he received from OCU and NAHDI to construct

his mansion.

          43.    Meanwhile, TONDER continued to represent to OCU and NAHDI that he was

using the money received from OCU and NAHDI only for the benefit of AXI.

          44.    TONDER also took money directly from AXI for personal expenses having nothing

to do with the business of AXI, including but not limited to improvements of his home, personal

shopping expenses, and personal vacations.

          45.    In 2021, upon information and belief, TONDER committed suicide.

          46.    Shortly after his death, OCU and NAHDI became aware of TONDER’s efforts to

defraud them out of money and shares of AXI.

          47.    OCU and NAHDI have retained undersigned counsel and have agreed to pay them

a reasonable fee for the prosecution of this action.

                                                      COUNT I
                                                       FRAUD

          Plaintiffs reincorporate and reallege paragraphs 1 through 47 above as if fully set forth

herein.

          48.    TONDER made representations of fact to OCU and NAHDI.

          49.    TONDER knew or should have known all such representations were false when he

made them.

          50.    TONDER made the representations to induce action by OCU and NAHDI.
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          51.    OCU and NAHDI did, in fact, take action based on reasonable reliance upon

representations of TONDER.

          52.    The representations TONDER made were later discovered to be patently false.

          53.    As a direct and proximate result TONDER’S fraud, OCU and NAHDI have

suffered damages, including but not limited to compensatory damages and incidental and

consequential damages.

          Plaintiffs, OIL COM UGANDA and ISLAM EDHA ABDAHAH NAHDI, respectfully

request this Court enter judgment in their favor and against the ESTATE OF BRUWER WESSEL

VAN TONDER, and for such further relief this Court deems just and proper.


                                             COUNT II
                                     BREACH OF FIDUCIARY DUTY

          Plaintiffs reincorporate and reallege paragraphs 1 through 47 above as if fully set forth

herein.

          54.    As a shareholder, officer and director of AXI, TONDER was in a position of high

degree of trust and confidence toward OCU and NAHDI, and owed them a fiduciary duty in the

exercise of his duties, obligations, responsibilities and discretion.

          55.    OCU and NAHDI reposed trust and confidence in TONDER, and TONDER

accepted such trust and confidence.

          56.    By reason of TONDER’S actions set forth above and incorporated herein,

TONDER has breached his fiduciary duties and otherwise abused his fiduciary duties to OCU and

NAHDI.




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          57.    As a direct and proximate result TONDER’S breach of his fiduciary duties, OCU

and NAHDI have suffered damages, including but not limited to compensatory damages and

incidental and consequential damages.

          Plaintiffs, OIL COM UGANDA and ISLAM EDHA ABDAHAH NAHDI, respectfully

request this Court enter judgment in their favor and against the ESTATE OF BRUWER WESSEL

VAN TONDER, and for such further relief this Court deems just and proper.


                                                   COUNT III
                                                  CONVERSION

          Plaintiffs reincorporate and reallege paragraphs 1 through 47 above as if fully set forth

herein.

          58.    TONDER acted wrongfully and improperly by using funds intended for use by AXI

for his personal gain and benefit, at the intended detriment of OCU, NAHDI and AXI.

          59.    As a result, OCU and NAHDI are deprived of their rightful interest in the funds and

have been deprived of those funds indefinitely.

          60.    The deprivation is causing OCU and NAHDI to suffer on-going damages, including

incidental and consequential damages as a direct and proximate result of TONDER’S actions and

inactions.

          Plaintiffs, OIL COM UGANDA and ISLAM EDHA ABDAHAH NAHDI, respectfully

request this Court enter judgment in their favor and against the ESTATE OF BRUWER WESSEL

VAN TONDER, and for such further relief this Court deems just and proper.

                                               COUNT IV
                                          CONSTRUCTIVE TRUST

          Plaintiffs reincorporate and reallege paragraphs 1 through 47 above as if fully set forth

herein.
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          61.    TONDER made several promises to OCU and NAHDI regarding how the money

from OCU and NAHDI would be used, i.e. for investment into the business of AXI.

          62.    TONDER, OCU and NAHDI shared a confidential relationship as shareholders,

directors and officers of AXI, and as business associates for several years.

          63.    In reliance upon TONDER’S promises and representations, OCU and NAHDI

transferred approximately $5.4 million USD to TONDER’s personal account for continued

investment into the business of AXI.

          64.    Unbeknownst to OCU and NAHDI, TONDER used a large part of the money for

his own personal benefit, without any benefit to AXI, OCU and NAHDI, and was therefore

unjustly enriched.

          65.    As a direct and proximate result TONDER’S breach of the parties’ constructive

trust, OCU and NAHDI have suffered damages, including but not limited to compensatory

damages and incidental and consequential damages.

          Plaintiffs, OIL COM UGANDA and ISLAM EDHA ABDAHAH NAHDI, respectfully

request this Court enter judgment in their favor and against the ESTATE OF BRUWER WESSEL

VAN TONDER, and for such further relief this Court deems just and proper.


                                                COUNT V
                                           UNJUST ENRICHMENT

          Plaintiffs reincorporate and reallege paragraphs 1 through 47 above as if fully set forth

herein.

          66.    OCU and NAHDI conferred a benefit on TONDER, to wit: money sent to

TONDER’s personal bank accounts.



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          67.    TONDER accepted the benefit with the condition that he would use the money for

investment into the business of AXI.

          68.    TONDER received the benefit for himself instead of using the money for

investment into the business of AXI, and TONDER paid nothing in exchange for the benefit he

received.

          69.    As a direct and proximate result TONDER’S unjust enrichment, OCU and NAHDI

have suffered damages, including but not limited to compensatory damages and incidental and

consequential damages.

          Plaintiffs, OIL COM UGANDA and ISLAM EDHA ABDAHAH NAHDI, respectfully

request this Court enter judgment in their favor and against the ESTATE OF BRUWER WESSEL

VAN TONDER, and for such further relief this Court deems just and proper.

                                                   COUNT VI
                                                  ACCOUNTING

          Plaintiffs reincorporate and reallege paragraphs 1 through 47 above as if fully set forth

herein.

          70.    OCU and NAHDI transferred approximately $5.4 million USD to TONDER’s

personal account.

          71.    The money was transferred for the specific purpose of continued investment for the

business of AXI.

          72.    However, unbeknownst to OCU and NAHDI, TONDER used a large part of the

money for his own personal benefit.

          73.    OCU and NAHDI are entitled to a full accounting of TONDER’S personal finances

to determine exactly how much money from or on behalf of OCU and NAHDI that TONDER


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spent for the business of AXI and how much money he spent on his personal expenses, including

but not limited to the purchase and construction of his home.

          74.    TONDER knowingly used the money for his personal benefit instead of the benefit

of AXI, OCU and NAHDI.

          75.    The full extent of TONDER’S unlawful and wrongful activities are not known to

OCU and NAHDI, and TONDER is in possession of all relevant financial records. Therefore, OCU

and NAHDI are unable to obtain a definite accounting of the money and how much of it has been

converted by TONDER.

          76.    As a result of TONDER’s wrongful conduct, OCU and NAHDI’s remedy at law as

it pertains to their rights to account for and determine the extent of TONDER’s fraud is inadequate

and will not be as expeditious as equity.

          Plaintiffs, OIL COM UGANDA and ISLAM EDHA ABDAHAH NAHDI, respectfully

request this Court enter judgment in their favor and against the ESTATE OF BRUWER WESSEL

VAN TONDER, and for such further relief this Court deems just and proper.

                                             COUNT VII
                                        PERMANENT INJUNCTION

          Plaintiffs reincorporate and reallege paragraphs 1 through 47 above as if fully set forth

herein.

          77.    OCU and NAHDI, as majority shareholders of AXI, request a permanent injunction

against all actions taken on behalf of TONDER relating to the business of AXI.

          78.    Unless TONDER is permanently enjoined from further asserting control and faux

ownership over AXI, such continued activities will result in additional irreparable injuries to OCU

and NAHDI, for which there is no adequate remedy at law.


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          79.    OCU and NAHDI, as parties who have caused to be sent approximately $5.4

million USD to TONDER’s personal bank accounts, request a permanent injunction as to waste of

any additional funds in TONDER’s personal accounts until a full accounting is completed and it

is determined how much money TONDER used for his personal benefit.

          80.    Unless TONDER is permanently enjoined from further wasting the funds of OCU

and NAHDI, such continued activities will result in additional irreparable injuries to OCU and

NAHDI, for which there is no adequate remedy at law.

          Plaintiffs, OIL COM UGANDA and ISLAM EDHA ABDAHAH NAHDI, respectfully

request this Court enter judgment in their favor and against the ESTATE OF BRUWER WESSEL

VAN TONDER, and for such further relief this Court deems just and proper.

                                            COUNT VIII
                                      DECLARATORY JUDGMENT

          Plaintiffs reincorporate and reallege paragraphs 1 through 47 above as if fully set forth

herein.

          81.    The determination of this justiciable controversy is crucial to the rights and

obligations of these parties.

          82.    An actual and justiciable controversy presently exists between Plaintiffs and

Defendant as to whether and to what extent Plaintiffs continue to own shares in AXI.

          83.    The parties have an antagonistic interest in the subject matter, either in fact or law.

          84.    Based on the allegations set forth in paragraphs 1 through 46, above, and the

exhibits attached to this Complaint, OCU and NAHDI do hereby request a declaration that they

have been and continue to be majority shareholders of AXI.




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       Plaintiffs, OIL COM UGANDA and ISLAM EDHA ABDAHAH NAHDI, respectfully

request this Court enter judgment in their favor and against the ESTATE OF BRUWER WESSEL

VAN TONDER, and for such further relief this Court deems just and proper.




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